CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 1 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 2 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 3 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 4 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 5 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 6 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 7 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 8 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 9 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 10 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 11 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 12 of 13
CASE 0:15-cr-00248-DWF-HB Document 1 Filed 09/10/15 Page 13 of 13
